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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                              Case No.


 EMILIO PINERO,

                        Plaintiff,
 v.

 PETRA OIL LLC,

                   Defendant.
 ________________________________/
                                           COMPLAINT

        Plaintiff, EMILIO PINERO, by his undersigned counsel, hereby files this Complaint and

 sues, PETRA OIL LLC, for injunctive relief pursuant to the Americans with Disabilities Act, 42

 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the ADA’s Accessibility Guidelines, 28

 C.F.R. Part 36 (hereinafter the “ADAAG”), and the Florida Building Code.

                                          JURISDICTION

        1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

  and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon

  Defendant’s violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

                                              PARTIES

        2.      Plaintiff, EMILIO PINERO, is a resident of Florida and currently lives in Miami,

 and is sui juris. He is a qualified individual with disabilities under the ADA law. Mr. Pinero is a

 double leg amputee from the knees down. Mr. Pinero owns his own vehicle and does drive. He

 has visited the property, which forms the basis of this lawsuit and plan to return to the property

 to avail himself of the goods and services offered to the public at the property, and to determine

 whether the property has been made ADA compliant. His access to the facility and/or full and

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 equal enjoyment of the goods, services, facilities, privileges, advantages, and/or accommodations

 offered therein was denied and/or limited because of these disabilities, and will be denied and/or

 barriers to access and ADA violations which exist at the facility, including but not limited, to

 those set forth in the Complaint.

         3.      Independent of his personal desire to have access to this place of public

 accommodation free of illegal barriers to access Plaintiff is an advocate of the rights of similarly

 situated disabled persons and is a "tester" for the purpose of asserting his civil rights and

 monitoring, ensuring, and determining whether places of public accommodation are in

 compliance with the ADA. Independent of other subsequent visits, Plaintiff also intends to visit

 the Premises regularly to verify its compliance or non-compliance with the ADA, and its

 maintenance of the accessible features of the Premises. In this instance, Plaintiff, in Plaintiff's

 individual capacity and as a "tester", visited the Premises, encountered barriers to access at the

 Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

 continue to suffer such harm and injury as a result of the illegal barriers to access and the

 violations of the ADA set forth herein. It is Plaintiff's belief that said violations will not be

 corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the

 near future.

         4.      Defendant, PETRA OIL LLC, transacts business in the State of Florida and within

  this judicial district. Defendant is the owner and/or representative of the owner and/or operator

  of the property, which is the subject of this action, located on or about 14800 N. Miami Ave,

  Miami, Florida (hereinafter the “facility”).

         5.      The facility is in an area frequently traveled by Plaintiff.




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        6.      The Defendant’s facility is a public accommodation and service establishment,

  and although required by law to do so, it is not in compliance with the ADA and ADAAG.

        7.      In this instance, Mr. Pinero visited the facility and encountered barriers to access

  at the facility, and engaged barriers, suffered legal harm and injury, and will continue to suffer

  legal harm and injury as a result of the illegal barriers to access, and Defendant’s ADA

  violations set forth herein.

        8.      Plaintiff has suffered and continues to suffer direct and indirect injury as a result

  of the ADA violations that exist at the facility and the actions or inactions described herein.

        9.      All events giving rise to this lawsuit occurred in the State of Florida. Venue is

  proper in this Court as the premises are located in the Southern District.

                             FACTUAL ALLEGATIONS AND CLAIM

        10.     Mr. Pinero has attempted to and has, to the extent possible, accessed the facility,

  but could not do so because of his disabilities due to the physical barriers to access, dangerous

  conditions and ADA violations that exist at the facility that restrict and/or limit his access to the

  facility and/or the goods, services, facilities, privileges, advantages and/or accommodations

  offered therein, including those barriers, conditions and ADA violations more specifically set

  forth in this Complaint.

        11.     Mr. Pinero intends to visit the facility again in the near future in order to utilize all

  of the goods, services, facilities, privileges, advantages, and/or accommodations commonly

  offered at the facility, but will be unable to do so because of his disability due to the physical

  barriers to access, dangerous conditions and ADA violations that exist at the facility that restrict

  and/or limit his access to the facility and/or accommodations offered therein, including those

  barriers conditions and ADA violations more specifically set forth in this Complaint.



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        12.      Defendant has discriminated against Plaintiff and others with disabilities by

  denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

  advantages and/or accommodations of the facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

  and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv),

  and will continue to discriminate against Plaintiff and others with disabilities unless and until

  Defendant is compelled to remove all physical barriers that exist at the facility, including those

  specifically set forth herein, and make the facility accessible to and usable by persons with

  disabilities, including Plaintiff.

        13.      Defendant has discriminated against Mr. Pinero by failing to comply with the

  above requirements. A specific, although not exclusive, list of unlawful physical barriers,

  dangerous conditions and ADA violations which preclude and/or limit Plaintiff’s ability

  (because of his disability) to access the facility and/or full and equal enjoyment of the goods,

  services, facilities, privileges, advantages and/or accommodations of the facility include:

                 A.      Non complaint disabled parking space.
                 B.      Non-compliant exterior routes. No curb ramp or accessible route to
                         convenient store portion of gas station.
                 C.      Non-compliant maneuvering space at entrance door to convenient store.
                 D.      Non-compliant interior routes.
                 E.      Non-compliant service counter.
                 F.      Non-compliant self-service dispenser elements and items.
                 G.      Non-compliant restroom due to maneuvering space, lack of clear floor
                         space, door, door hardware, grab bars, dispensers, sink, mirror and toilet.

        14.    The above listing is not to be considered all-inclusive of the barriers, conditions or

 violations encountered by Plaintiff and/or which exist at the facility. Plaintiff requires an

 inspection of the facility in order to determine all of the discriminatory acts violating the ADA.

        15.    Mr. Pinero has attempted to gain access to the facility, but because of his disability

 has been denied access to, and has been denied the benefits of services, programs, and activities



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 of the facility, and has otherwise been discriminated against and damaged by Defendant, because

 of the physical barriers, dangerous conditions and ADA violations set forth above, and expects to

 be discriminated against in the future, unless and until Defendant is compelled to remove the

 unlawful barriers and conditions and comply with the ADA.

         16.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

 Defendant modifies the Premises or modifies the policies and practices to accommodate

 individuals who have physical disabilities to confirm said modifications have been completed in

 accordance with the requirements of the ADA

         17.   The removal of the physical barriers, dangerous conditions and ADA violations set

 forth herein is readily achievable and can be accomplished and carried out without much

 difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

 36.304.

         18.   Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

 reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant

 is required to remove the physical barriers, dangerous conditions and ADA violations that exist

 at the facility, including those set forth herein.

         19.   The Plaintiff has been obligated to retain undersigned counsel for the filing and

 prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

 and expenses paid by the Defendant, pursuant to 42 U.S.C., §§ 12205 and 12217.

         20.   Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

 injunctive relief to Plaintiff, including an order to alter the subject facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA, and

 closing the subject facility until the requisite modifications are completed.



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         WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

 injunction enjoining Defendant from continuing is discriminatory practices, ordering Defendant

 to remove the physical barriers to access and alter the subject facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA,

 closing the subject facility until the barriers are removed and requisite alterations are completed,

 and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses

 incurred in this action.


                                               Respectfully submitted,



                                               s/ Lauren Wassenberg
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